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                                         UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF DELAWARE
             ------------------------------------------------------------------x
             In re                                                             : Chapter 11
                                                                               :
             CarePoint Health Systems Inc. d/b/a Just Health                   : Case No. 24-12534 (JKS)
             Foundation, et al. 1                                              :
                                                                               : (Jointly Administered)
                                                Debtors.                       :
             ------------------------------------------------------------------x Ref. Docket No. 412

                           OBJECTION OF SENIOR SECURED AGENTS TO
                 INTERIM APPROVAL OF PLAN PROPONENTS’ COMBINED DISCLOSURE
                   STATEMENT AND JOINT CHAPTER 11 PLAN OF REORGANIZATION

                   Capitala Private Advisors, LLC and Capitala Specialty Lending Corp., in their capacities as

         administrative agents under certain of the Debtors’ prepetition senior secured credit facilities (in such

         capacities, the “Senior Secured Agents”), by their undersigned counsel, hereby submit this objection

         (this “Objection”) to interim approval of the Combined Disclosure Statement and Joint Chapter 11

         Plan of Reorganization [D.I. 412] (the “Combined DS and Plan”).2 In support of this Objection,

         the Senior Secured Agents respectfully state as follows:

                                              PRELIMINARY STATEMENT

                   1.      The Senior Secured Agents and other Senior Secured Parties, as long standing and

         committed partners to the Debtors in their mission to provide the safest and most reliable care for

         the Debtors’ patients, are gravely concerned by the Combined DS and Plan’s woeful lack of


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           The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
         number are: (i) Bayonne Intermediate Holdco, LLC (7716); (ii) Benego CarePoint, LLC (2199); (iii) Briar Hill
         CarePoint, LLC (iv) CarePoint Health Management Associates Intermediate Holdco, LLC (none); (v) CarePoint
         Health Management Associates, LLC d/b/a CarePoint Health (3478); (vi) CarePoint Health Systems, Inc. d/b/a Just
         Health Foundation (6996); (vii) CH Hudson Holdco, LLC (3376); (viii) Christ Intermediate Holdco, LLC (3376); (ix)
         Evergreen Community Assets (1726); (x) Garden State Healthcare Associates, LLC (4414); (xi) Hoboken
         Intermediate Holdco, LLC (2105); (xii) Hudson Hospital Holdco, LLC (3869); (xiii) Hudson Hospital Opco, LLC
         d/b/a CarePoint Health-Christ Hospital (0608); (xiv) HUMC Holdco, LLC (3488); (xv) HUMCO Opco, LLC d/b/a
         CarePoint Health-Hoboken University Medical Center (7328); (xvi) IJKG, LLC (7430); (xvii) Just Health MSO, LLC
         (1593); (xviii) New Jersey Medical and Health Associates d/b/a CarePoint Health Medical Group (0232); (xix) Quality
         Care Associates, LLC (4710); (xx) Sequoia BMC Holdco, LLC (9812). The address for CarePoint Health Systems
         Inc. is 308 Willow Avenue, Hoboken, NJ 07030.
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          Capitalized terms used but not otherwise defined herein shall have the meanings provided to such terms in the
         Combined DS and Plan or Christ/HUMC Interim DIP Order, as applicable.
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         disclosure and inclusion of patently unconfirmable terms. In light of the glaring disclosure

         deficiencies and numerous plan infirmities, permitting the Plan Proponents to proceed with

         solicitation would drain already limited estate resources and likely result in administrative

         insolvency, liquidation and the closure of much needed community hospitals.

                2.      The Senior Secured Parties have supported the Debtors in their mission since

         August 2018, when Capitala Specialty Lending and the Senior Holdco Lenders advanced the

         senior secured Sequoia Credit Agreement to certain Debtor holding companies. Since then, the

         Senior Secured Parties have provided the Debtors three additional credit facilities, including two

         additional credit facilities when the Debtors faced a liquidity crisis in 2022, as well as numerous

         credit concessions. The Senior Secured Parties abstained from exercising remedies when these

         credit facilities matured in November 2023 in order to give the Debtors breathing room to find a

         path forward without affecting patient care. Additionally, to ensure the Debtors had access to

         critical funding for these Chapter 11 Cases, the Senior Secured Parties consented to sharing their

         collateral with the DIP Lender on a pari passu basis.

                3.      Despite the Senior Secured Parties’ long standing support for the Debtors and their

         position as prepetition senior secured creditors, none of the Plan Proponents engaged with the

         Senior Secured Parties on plan treatment until January 5—three days prior to filing the Combined

         DS and Plan. Even then, none of the Plan Proponents bothered to share a draft of the Combined

         DS and Plan with the Senior Secured Parties prior to filing. The reason for these disappointing

         tactics are evident upon reviewing the Combined DS and Plan, as the proposed treatment of the

         Senior Secured Parties includes stripping them of collateral in order to fund other parties’

         recoveries, limiting the recoveries of the Senior HUMC Secured Parties and the Senior Hudson

         Secured Parties to a to-be-determined exit facility for which no terms are provided, and denying

         the Senior Holdco Secured Parties any recovery whatsoever in respect of their secured and


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         unsecured claims. Additionally, without any articulated basis, the Combined DS and Plan seeks

         to substantively consolidate the Debtors to the detriment of the Senior Secured Parties and other

         stakeholders and to the benefit of HRH.

                4.      These issues aside, the Combined DS and Plan also fails to disclose critical

         information on numerous fronts, including how the Reorganized Debtors will manage to operate

         post-bankruptcy or satisfy their obligations under the Capitala Exit Facility, as the Combined DS

         and Plan would encumber the Reorganized Debtors with more than $100 million in exit facilities,

         and more than $24 million in priority tax liabilities, in addition to their significant ongoing

         operating expenses.

                5.      The Senior Secured Agents and the other Senior Secured Parties are committed to

         finding a solution that provides a feasible path forward for the Debtors, maximizes stakeholder

         recoveries, and ensures continuity of quality care for the Debtors’ patients. But the terms proposed

         by the Combined DS and Plan do not provide this path.

                                                   OBJECTION

         I.     The Combined DS and Plan Fails to Provide Adequate Information.

                6.      The Combined DS and Plan fails to disclose information necessary for creditors to

         make an informed judgment regarding the Plan. It therefore lacks the “adequate information”

         required by section 1125 of the Bankruptcy Code, which is defined as:

                        “information of a kind, and in sufficient detail, as far as is reasonably
                        practicable in light of the nature and history of the debtor and the condition
                        of the debtor’s books and records, including a discussion of the potential
                        material Federal tax consequences of the plan to the debtor, any successor
                        to the debtor, and a hypothetical investor typical of the holders of claims or
                        interests in the case, that would enable such a hypothetical investor of the
                        relevant class to make an informed judgment about the plan, but adequate
                        information need not include such information about any other possible or
                        proposed plan and in determining whether a disclosure statement provides
                        adequate information, the court shall consider the complexity of the case,
                        the benefit of additional information to creditors and other parties in
                        interest, and the cost of providing additional information”

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         11 U.S.C. § 1125(a)(1). The standard for adequate information is a high one. As the Third Circuit

         has stated: “[t]he importance of full disclosure is underlaid by the reliance placed upon the

         disclosure statement by the creditors and the court. Given this reliance, we cannot overemphasize

         the debtor’s obligation to provide sufficient data to satisfy the Code standard of ‘adequate

         information.’” Oneida Motor Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 417 (3d Cir.

         1988). The legislative notes to section 1125 provide that “[b]oth the kind and form of information

         are essentially to the judicial discretion of the court, guided by the specification…that it be of a

         kind and insufficient detail that a reasonable and typical investor can make an informed judgment

         about the plan. The information required will necessarily be governed by the circumstances of the

         case.” 11 U.S.C. § 1125 Notes of Committee on the Judiciary, S.R. No. 95-989.

                7.      To comply with section 1125 of the Bankruptcy Code, the Combined DS and Plan

         must be amended to include clear and straightforward information that would allow creditors to

         make an informed decision of whether to vote to accept or reject the Plan. Information that must

         be disclosed or clarified includes:

                        a. The purported factual and legal bases for substantive consolidation, and how
                           the extraordinary remedy of substantive consolidation would affect creditors.
                           The Plan is predicated upon substantively consolidating the Debtors’ estates for
                           voting and distribution purposes. As the only support thereof, the Combined
                           DS and Plan summarily states that “(i) the Debtors are interrelated such that
                           consolidating their assets and liabilities is necessary; and (ii) the benefits of
                           consolidating the Debtors’ assets and liabilities outweigh the harm to creditors,
                           particularly given the size of the Intercompany Claims and difficulty
                           unscrambling assets and liabilities.” Combined DS and Plan at Art. III.E. For
                           creditors to assess the Plan’s substantive consolidation, the Plan Proponents
                           must disclose:

                               i.   information sufficient to demonstrate how the Debtors are so
                                    interrelated that consolidating their assets and liabilities is necessary;

                              ii.   the benefits of consolidating the Debtors’ assets and liabilities;

                             iii.   the harm to creditors resulting from such consolidation;

                             iv.    how such benefits of consolidating the Debtors’ assets and liabilities
                                    outweighs the harm to creditors;
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                                  v.     the size of the Intercompany Claims and how they affect the substantive
                                         consolidation analysis; and

                                 vi.     how and why the Debtors’ assets and liabilities are so difficult to
                                         unscramble.

                           b. The terms of the exit facilities. The Combined DS and Plan fails to disclose
                              any terms of the Capitala Exit Facility or the HRH Exit Facility, including key
                              business terms such maturity date, interest rate, payment terms, whether the exit
                              facilities would be secured and, if secured, by what collateral and with what
                              lien priority. The Senior Secured Parties (and other voting creditors) cannot
                              make an informed decision regarding voting for the Plan without this
                              information.

                           c. Repayment terms for the Debtors’ payroll tax liabilities. The Declaration of
                              Shamiq Syed Regarding Motion of the United States Trustee [D.I. 397] (the
                              “Shamiq Declaration”) provides that the Debtors owe more than $24 million in
                              prepetition unpaid payroll taxes, of which nearly $18 million represents
                              employee paycheck withholdings. See Shamiq Declaration at ¶ 11. While the
                              Plan states that the Debtors’ prepetition payroll tax liabilities will be paid from
                              the Reorganized Debtors’ operations subsequent to the Effective Date subject
                              to section 1129(a)(9)(C) of the Bankruptcy Code (Combined DS and Plan at
                              Art. IV.B), the Combined DS and Plan fails to disclose:

                                   i.    the amount of the outstanding payroll tax liabilities, 3 including what
                                         portion thereof also constitutes a priority non-tax claim of employees
                                         under section 507(a)(4) of the Bankruptcy Code;

                                  ii.    whether and to what extent the outstanding payroll tax liabilities will be
                                         reduced as a result of the payment on the Effective Date of Priority Non-
                                         Tax claims held by employees in respect of withholding taxes that were
                                         not paid to the applicable taxing authorities;

                                 iii.    how the payroll tax liabilities will be repaid over five years pursuant to
                                         section 1129(a)(9)(C) of the Bankruptcy Code; and

                                 iv.     whether the Reorganized Debtors can support the undisclosed payroll
                                         tax repayment terms.

                           d. Feasibility. The primary support for the feasibility of the Plan is an unsupported
                              statement that “the Plan Proponents expect: (i) sufficient funds to exist to make
                              all required distributions under the Plan, (ii) for those Reorganized Debtors,
                              which are continuing in business, to be well-positioned to service their ordinary
                              course obligations and successfully operate their business on a go-forward basis
                              based upon, among other things, substantial management and operational
                              changes made by HRH since the Petition Date to reduce expenses and increase
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           The Senior Secured Parties are very concerned that the Combined DS and Plan omits disclosing the magnitude of
         the Debtors’ considerable payroll tax liabilities. Creditors should not be required to sift through to docket in order to
         hunt down the scope of these liabilities.
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                revenue, and (iii) for the Litigation Trustee to have the ability to prosecute and
                potentially monetize Litigation Claims for the benefit of Litigation Trust
                Beneficiaries.” Combined DS and Plan at Art. VI.B.5. To understand whether
                the Plan is feasible, the Combined DS and Plan must disclose:

                   i.   Information sufficient for creditors to determine whether the
                        Reorganized Debtors will be able to satisfy their obligations under the
                        exit facilities and prepetition payroll tax repayment terms and
                        successfully operate their businesses on a go-forward basis while
                        delivering quality care to patients. This information should include (x)
                        how the Reorganized Debtors will address their significant cashflow
                        needs following the Effective Date and (y) a description of the
                        “substantial management and operational changes made by HRH since
                        the Petition Date to reduce expenses and increase revenue” and why
                        those changes are likely to lead to the necessary operational
                        improvements. This is particularly relevant considering the Debtors’
                        operations are losing more than $428,000 per day, $3 million per week
                        (see Transcript of December 16, 2024 hearing at pg. 11, lines 6-8);

                  ii.   The basis for the expectation that sufficient funds will be available to
                        make all required payments on the Effective Date, including (x) the
                        likely sizeable superpriority administrative expense claim of the Senior
                        Secured Parties pursuant to the Christ/HUMC Interim DIP Order arising
                        as a result of the diminution in the Senior Secured Parties’ collateral
                        from incurrence of the DIP Facility and the Debtors’ use of cash
                        collateral, (y) the Priority Non-Tax Claims of Debtor employees in
                        respect the Debtors’ failure to pay prepetition withholding taxes to the
                        applicable taxing authorities and (z) the contemplated payment of
                        employee Priority Non-Tax Claims in excess of the cap under section
                        507(a)(4) of the Bankruptcy Code; and

                 iii.   The “significant and strategic downsizing” the Debtors are
                        contemplating, and how and when it will “support the growth of the
                        Hospitals and stabilizing cash flow going forward” (see Combined DS
                        and Plan at Art. III.B.4).

             e. Compliance with the Best Interest of Creditors Test. The Combined DS and
                Plan fails to disclose projected recoveries for the voting Classes or provide any
                liquidation analysis. Rather, the Plan Proponents summarily state their belief,
                without providing factual support, that each Class of Impaired Claims would
                receive an equal or greater recovery than under a chapter 7. See Combined DS
                and Plan at Art. VI.B.4. The Senior Secured Agents are particularly concerned
                with the best interest of creditors test and liquidation analysis, as the Plan
                proposes to strip them of their liens on certain of the Litigation Claims while
                likely encumbering the rest of their collateral at Christ Hospital and HUMC
                with nearly $90 million of debt at Bayonne with an unstated lien priority, none
                of which would occur under a chapter 7.


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             f. Information (if any) regarding the results of investigations (if any) to support
                the proposed release of HRH. The Plan contemplates providing releases to
                HRH, including its affiliates, subsidiaries and designees and their respective
                former, present and future owners, officers, directors, managers, employees,
                independent contractors, attorneys, agents and representatives. In order to
                assess the propriety of these releases, the Combined DS and Plan should
                disclose whether the claims against HRH being released were investigated and,
                if so, detailed information regarding such investigation, including who
                conducted the investigation, how the investigation was conducted and the
                findings of the investigation. This is information is particularly important in
                light of the numerous hats HRH wears with respect to the Debtors, the fact that
                the owner and chairman of HRH sits on CarePoint’s board, and the unusually
                HRH-favorable terms set forth in the Collateral Surrender Motion and MSA
                Motion, each filed within 24 hours of the Petition Date.

             g. Post-Effective Date Bayonne capital structure. The Plan contemplates the
                cancellation of the Bayonne Interests and states that, subject to an Alternative
                Transaction, the “assets of Bayonne (other than any Litigation Claims) shall be
                transferred to HRH as set forth in and pursuant to the Collateral Surrender
                Agreement.” See Combined DS and Plan at Art. V.B.11, Art. IX.B. The
                Combined DS and Plan should explain what the Bayonne capital structure looks
                like post-emergence without requiring creditors to locate, review and interpret
                the Collateral Surrender Agreement.

             h. Alternative Transaction requirements. The Combined DS and Plan is
                ambiguous whether an Alternative Transaction must be for all hospitals or for
                any hospital. This should be clarified. Additionally, if an Alternative
                Transaction is permitted for any hospital, the Combined DS and Plan should
                disclose whether it is feasible for the Debtors to repay HRH in full upon the
                Effective Date as contemplated by the Plan.

             i. Access to the County Option Program and its impact on Reorganized Debtor
                performance. At the November 8, 2024 hearing, Debtors’ counsel stated on the
                record that the County Option Program is very beneficial for the Debtors and
                that the cash requirements for participation in the program was “a problem [the
                Debtors] need to solve.” See Transcript of November 8, 2024 hearing at pg. 45,
                line 14 through pg. 46, line 5. As of the Petition Date, CarePoint owed the
                County Option Program $15,710,447. In light of the Debtors’ stated
                importance of this program and the sizeable deficiency owed by the Debtors,
                the Combined DS and Plan should disclose whether the Reorganized Debtors
                will have the ability and right to access to the County Option Program upon the
                Effective Date and, if not, whether that lack of access would materially affect
                their post-Effective Date performance.

             j. Determination of who decides whether and which Allowed Administrative
                Expense Claims and Allowed Priority Claims may be paid in the ordinary
                course. The Combined DS and Plan includes typical language providing that
                Allowed Administrative Expense Claims and Allowed Priority Claims will be
                paid in full in cash on the Effective Date unless such claims are allowed after
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                                 the Effective Date or the holders of such claims otherwise agree. However, the
                                 Combined DS and Plan also states that, as an alternative to this standard
                                 approach, such claims “may be assumed by the Reorganized Debtors and paid
                                 in the ordinary course.” See Combined DS and Plan at Art. IV.A, Art. IV.B
                                 and Art. IV.C. The Combined DS and Plan should provide greater detail
                                 regarding what this means, who decides whether to assume and pay such claims
                                 in the ordinary course, and which claims would be subject to such assumption
                                 and payment.

                             k. The description of the Capitala Claims and Capitala Specialty Lending Claims
                                must be clarified to accurately describe the holders of such Claims and the credit
                                facility giving rise to the Capitala Specialty Lending Claims. Each of the Senior
                                Facilities are syndicated credit facilities agented by one of the Senior Secured
                                Agents. The definition of the Capitala Claims and Capitala Specialty Lending
                                Claims erroneously provide that the claims are held by the Senior Secured
                                Agents instead of the Senior Secured Parties. Additionally, the Combined DS
                                and Plan erroneously provides that the Senior Holdco Agent advanced the
                                Senior Holdco Facility instead of the Senior Holdco Lenders. These
                                definitional and description errors must be fixed.

         II.        The Plan is patently unconfirmable because it blatantly discriminates against, and is
                    not fair and equitable with respect to, the Capitala Claims and Capitala Specialty
                    Lending Claims.

                    8.       The Senior Secured Agents believe the Plan Proponents have only one shot to

         confirm a Plan due to the Debtors’ limited resources and ongoing cash burn. 4 Although the Senior

         Secured Agents would usually be reluctant to raise confirmation issues at the disclosure statement

         stage, the Plan is patently unconfirmable under section 1129 of the Bankruptcy Code because it

         blatantly discriminates against, and is not fair and equitable with respect to, the Capitala Claims

         and the Capitala Specialty Lending Claims. Allowing the Plan Proponents to incur the significant

         costs of soliciting this unconfirmable Plan and seeking its confirmation would inevitably result in

         administrative insolvency, liquidation and the closure of hospitals much needed by the

         community.5




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             As noted in ¶ 7.d.i supra, the Debtors’ operations are losing more than $428,000 per day, $3 million per week.
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          In addition, the Senior Secured Agents are very concerned that, because HRH is an insider, the Plan Proponents
         would incur these costs without having in-hand a non-insider impaired consenting class. Given the Debtors’ financial
         condition, pursuing this Plan on a leap of faith strikes the Senior Secured Agents as unacceptably risky.
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                9.      Although generally objections to the confirmability of a chapter 11 plan are not ripe

         at the disclosure statement stage, the Third Circuit has held that “a bankruptcy court may address

         the issue of plan confirmation where it is obvious at the disclosure statement stage that a later

         confirmation hearing would be futile because the plan described by the disclosure statement is

         patently unconfirmable.” In re Am. Capital Equip., 688 F.3d 145, 154 (3d Cir. 2012). “A plan is

         patently unconfirmable where (1) confirmation ‘defects [cannot] be overcome by creditor voting

         results’ and (2) those defects ‘concern matters upon which all material facts are not in dispute or

         have been fully developed at the disclosure statement hearing. ’” Id. at 154-55 (Quoting In re

         Monroe Well Serv., 80 B.R. 324, 333 (Bankr. E.D. Pa. 1987)).

                10.     The Senior Secured Parties, as prepetition senior secured lenders to certain of the

         Debtors, hold claims and priority liens against the majority of the Debtors and their assets. See

         Christ/HUMC Interim DIP Order at ¶ F; Combined DS and Plan at Art. III.A.3.i, Art. III.A.3.iii,

         Art. III.A.3.v. These claims and liens include the claims of Capitala Specialty Lending, as Senior

         Holdco Agent on behalf of the Senior Holdco Secured Parties, in respect of: (a) the limited non-

         recourse guarantees issued by CarePoint, HUMC Opco, Christ Opco and Bayonne Opco

         (collectively, the “Opco Guarantors”) in support of the Senior Holdco Obligations; and (b) the

         liens granted by the Debtors on the litigation matters identified in the Collateral Sharing

         Agreement. Id. Pursuant to section 1111(b)(1)(A) of the Bankruptcy Code, the Senior Holdco

         Secured Parties hold claims against each Opco Guarantor, in addition to the Debtors who are

         borrowers under the Senior Holdco Loan Agreement. See 11 U.S.C. § 1111(b)(1)(A); In re

         Montgomery Ward, LLC, 634 F.3d 732, 739 (3d Cir. 2011) (“Generally, [Section 1111(b)]

         provides that if a debtor elects to continue using encumbered property in its reorganization, the

         bankruptcy court will grant the nonrecourse creditor, whose claim is secured by an interest in that

         property, an allowed claim under section 502 as if its security interest had recourse.”).


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                11.       Under the cramdown provisions of section 1129(b)(1) of the Bankruptcy Code, a

         plan that satisfies all of the applicable requirements of section 1129(a), other than paragraph (8)

         thereof, may nonetheless be confirmed so long as it does not discriminate unfairly and is fair and

         equitable with respect to each class of claims or interests that is impaired under, and has not

         accepted, the plan. 11 U.S.C. § 1129(b)(1); see also In re Tribune Co., 972 F.3d 228, 237 (3d Cir.

         2020) (“The cramdown provision in 11 U.S.C. § 1129(b)(1) waives § 1129(a)(8)’s mandate that

         all classes either vote to accept the plan or recover their debt in full under it. Yet [Section

         1129(b)(1)] also affords unique safeguards: the fair-and-equitable and unfair-discrimination

         standards.”).

                12.       Here, the Plan blatantly discriminates against, and is not fair and equitable with

         respect to, the Senior Secured Parties—who will not vote to accept this Plan:

                A.        The Plan strips the Senior Secured Agents of their Liens on Litigation Claims in
                          violation of section 1129(b)(2)(A) of the Bankruptcy Code.

                13.       The Senior Secured Agents, on behalf of the Senior Secured Parties, hold priority

         liens on substantially all of certain of the Debtors’ assets, including causes of action that are

         included within the Litigation Claims being contributed to the Litigation Trust free and clear of all

         Claims, Liens and other interest. See Christ/HUMC Interim DIP Order at ¶ F; Combined DS and

         Plan at Art. III.A.3.i, Art. III.A.3.iii, Art. III.A.3.v, Art. X.C. Under section 1129(b)(2)(A) of the

         Bankruptcy Code, holders of secured claims must either retain their Liens or realize the indubitable

         equivalent of such claims. See 11 U.S.C. § 1129(b)(2)(A); In re Phila. Newspapers, LLC, 599

         F.3d 298, 305 (3d Cir. 2010). The Senior Secured Agents are not willing to consent to the release

         of their liens on Litigation Claims, and the Plan fails to provide the Senior Secured Agents anything

         in exchange for their release of such liens—let alone anything purporting to be the indubitable

         equivalent. As such, the Plan is not fair and equitable and violates section 1129(b)(2)(A) of the

         Bankruptcy Code.

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                  B.     The Plan denies any recovery for the secured and unsecured claims of the Senior
                         Holdco Secured Parties while providing for the recoveries of other general
                         unsecured creditors out of the Senior Holdco Secured Parties’ collateral in violation
                         of section 1129(b).

                  14.    The Plan provides that the Senior Holdco Secured Parties will not receive or retain

         any property under the Plan on account of their secured or unsecured claims while distributing

         certain of the Senior Holdco Secured Parties’ collateral to the Litigation Trust for the benefit of

         other general unsecured creditors. See Combined DS and Plan at Art.V.B.3; Objection at ¶ 15,

         supra.

                  15.    The claims of the Senior Holdco Secured Parties are secured by substantially all

         assets of Debtors Carepoint Health Management Associates Intermediate Holdco, LLC, Bayonne

         Intermediate Holdco, LLC, Hoboken Intermediate Holdco, LLC and Christ Intermediate Holdco,

         LLC (collectively, the “Senior Holdco Borrowers”), as well as by the litigation claims pledged by

         the Debtors under the Collateral Sharing Agreement. See Christ/HUMC Interim DIP Order at ¶

         F; Combined DS and Plan at Art. III.A.3.i, Art. III.A.3.iii, Art. III.A.3.v.

                  16.    Section 1129(b)(2)(A) of the Bankruptcy Code requires that holders of secured

         claims retain their Liens or realize the indubitable equivalent of such claims. Here, the holders of

         Capitala Specialty Lending Claims are stripped of all of their liens and receive no distributions

         under the Plan. This is discriminatory and blatantly violates the requirements of section 1129 of

         the Bankruptcy Code.

                  17.    Additionally, the holders of Capitala Specialty Lending Claims hold unsecured

         claims (both deficiency and not) against most of the Debtors, including the Senior Holdco

         Borrowers and the Opco Guarantors—not all of whom are non-profits. The Plan contemplates

         denying such holders any recovery on account of their unsecured claims while granting other

         general unsecured creditors recoveries out of Litigation Claims, including Litigation Claims



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         constituting collateral securing Senior Holdco Obligations. Again, this is discriminatory and

         blatantly violates the requirements of section 1129 of the Bankruptcy Code.

                C.      The Plan violates the absolute priority rule of section 1129(b)(2)(B) by allowing
                        existing equity to retain their Interests in the Debtors while denying the holders of
                        Capitala Specialty Lending Claims any recovery.

                18.     The Plan contemplates the Senior Holdco Borrowers (other than Bayonne

         Intermediate Holdco, LLC), all of which are for-profit entities, retaining their existing Interests in

         their subsidiaries while denying the holders of Capitala Specialty Lending Claims any recovery on

         account of their claims. See Combined DS and Plan at Art. V.B.3, V.B.11. This treatment violates

         section 1129(b)(2)(B) of the Bankruptcy Code, which prohibits holders of interests junior to the

         holders of Capitala Specialty Lending Claims from receiving or retaining property under the Plan.

         See 11 U.S.C. § 1129(b)(2)(B); In re 222 Liberty Associates, 108 B.R. 971, 983 (Bankr. E.D. Pa.

         1990) (“a junior creditor may not receive any distributions under the plan until all senior creditors

         have been paid in full”).

         III.   Reservation of Rights.

                19.     The Senior Secured Agents hereby expressly reserve all rights to file additional and

         supplemental objections to the Combined DS and Plan, and this Objection is filed without

         prejudice to the Senior Secured Agents’ rights (or any other Senior Secured Parties’ rights) to raise

         any additional or further arguments in the event the Debtors amend, modify, or supplement the

         Combined DS and Plan. The Senior Secured Agents also note that they have identified numerous

         other issues with the Combined DS and Plan that are more appropriate to raise in connection with

         confirmation (should the Plan Proponents be permitted to solicit this Plan). Nothing herein is

         intended to or shall be deemed to impair, prejudice, waive, or otherwise affect any objections or

         arguments the Senior Secured Agents or any other Senior Secured Party may have with respect to

         confirmation of Combined DS and Plan.


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                                                 CONCLUSION

                WHEREFORE, for the foregoing reasons, the Senior Secured Agents request that the Court

         (i) deny interim approval of the Combined DS and Plan and (ii) grant such other and further relief

         as is just and appropriate.

         Dated: January 15, 2025              Respectfully submitted,

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